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CLAUDIA GARCIA

IN THE UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

 

CR. No. 13-484-CAS-011

UNITED STATES OF AMERICA, DEFENDANT CLAUDIA GARCIA’S
Plaintiff, REPLY TO GOVERNMENT’S
VS. SENTENCING POSITION
CLAUDIA GARCIA, Sentencing Hearing: March 9, 2015
Defendant. 2: 30 PM

Honorable Christina A. Snyder
United States District Judge

 

 

 

Defendant CLAUDIA GARCIA, by and through her attorney James Bisnow,

hereby respectfully files this REPLY to the government’s sentencing position:

CLAUDIA GARCIA’S SINCERE AND DEMONSTRABLE
EFFORTS TO CHANGE HER LIFE SINCE 2012 JUSTIFY
A NON-PRISON SENTENCE IN THIS CASE
The government sentencing position recommends 33 months for Claudia

Garcia. It emphasizes that the government “cut defendant a huge break” by

 
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allowing her to plead guilty to a crime which does not carry a mandatory minimum
sentence, and urges the Court not to reduce the sentence further because, although
a “lackey,” Ms. Garcia helped distribute drugs and make prison phone calls for the
leader of “a notorious street gang” who therefore “needs to be punished for her
support of a dangerous criminal organization by helping it generate revenue.” GP at
4-5.

Defendant truly appreciates the charge reduction by the government and its
recognition of the mitigating circumstances in Ms. Garcia’s case. Defendant,
however, requests that the Court view Ms. Garcia not simply as a “lackey,” but as a
person who has recognized her human frailties and acted to overcome them.

Claudia Garcia grew up in the gang millieu. She knows the “gang life” better
than most, having married two different gang members and worked for a third,
codefendant Vega. But she has turned her back on it now. She wants no more of it.
She no longer communicates with the codefendants. She doesn’t want to work for
them, or sit in trial with them. She wants her children to grow up with a freedom
she never had-- freedom from the gang environment.

Defendant has no doubt that the government must and should pursue MS-13
gang leaders and shot-callers. But since 2012 Claudia Garica has had different plans.
She wants to work and raise her children in a crime-free atmosphere, where

honest work means a good life and a clean conscience.

CONCLUSION
This court should impose a sentence which protects society, but which
recognizes Claudia Garcia’s sincere efforts at rehabilitation and permits her to raise

her children in this country.

 
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February 27, 2015

 

 
